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orm: justin chappell (onethreechuck@yahoo.com)
onethreechuck@yahoo.com

Tuesday, July 9, 2024 at 12:56 PM EDT

To Whom it May Concern,

!, Stephen Goslin a retired police officer from the Town of Weymouth. | am writing this letter on behalf of Justin
Chappell. | worked along side Justin for the Weymouth Police Department from 2015 until his departure.

Justin was older than. most when he began his career as a police officer. He was 35. | had been on the job since 1999
and was a senior officer on the 12-8 (midnight shift} upon his arrival.

Justin came to the department not only with life experiences but also with 5 years of Military experience as a Sergeant
in the Army.

He had two deployments to Afghanistan in that 5 years.

Based on his age and experience he was an immediate asset to the police department as well as our shift. Justin was
commendable in the handling of all aspects of the job. He was also helpful in working with the younger officers.

As his career slowly blossomed be became not only a fellow officer but a friend. We worked two days of a four day
rotation together. We would talk at length not only about work related topics but we also exchanged stories of our
respective personal lives.

Justin is a proud father and husband to his wife Kristen and 10 year old daughter 4M. I’ve had the pleasure of meeting
both several times over the years.

Albeit both of us have left the WPD we’ve stayed in touch via text, phone conversation as well as meeting for the
occasional lunch, | did not socialize with many people from work. Justin was one of few that | had a friendship with on
and off the job.

The incident involving Justin while unfortunate does not encapsulate him as a person. He was a tremendous police
officer. He was and still is respected by his peers and the community alike. His departure from the department was a
ioss in many ways.

Justin has returned to school in pursuit of a degree in Psychology.
He has strong family values and is looking to move on to the next chapter.

Justin is a fantastic person and a great friend. His character speaks for itself.

I'm aware my opinion is just that, an opinion. That being said | believe that Justin having had to deal with this situation
is punishment enough. Any future discipline in this matter would be egregious. All parties should move on and Justin
should be able to pursue another profession and put this all behind him,

Respectfully,

Stephen Goslin.

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Kimberly O’Connor

44 Wharf st

Weymouth, Ma 02189

(857) 272-1362
kvgannonoconnor@gmail.com

9th July 2024

The Honorable Allison Burroughs

John Joseph Moakley U.S. Courthouse
| Courthouse Way, Suite 2300
Boston, Massachusetts 02210

Dear Honorable Judge Burroughs,

| write to you today on behalf of Justin Chappell with the hope that my insights into their
character may offer a different perspective on the person standing before you. | have known
Justin for over 25 years and during this time, | have come to know them as a person of good
character, integrity and honesty.

In my experience with Justin, he has always displayed good moral character, a commitment to his
family and a willingness to help others. | have observed Justin faithfully serve as a soldier and
lovingly as a devoted Husband and Father. | also know him to be a caring son, brother and uncle.
Justin has been a member of my family for over 18 years and assumes the role of uncle by proxy
to my daughter. | have witnessed Justin be a kind, patient and fair humored individual.

| can confirm that in the time that | have known him, Justin Chappell has been a reliable,
trustworthy and decent person. | respectfully request that you take this letter into consideration
while you make a fair decision.

Sincerely,

Kimberly O’Connor
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Patricia Gannon, RN, MS, CPN, CNRN
200 Cove Way # 108,
Quincy, MA 02163

617-821-3261

july 5, 2024

The Honorable Allison Burroughs:

My name is Patricia Gannon, | am writing to offer a character reference for Justin Chappell, whom | have
had the privilege of knowing for twenty years, and during that time Justin became my nephew by
marriage. With the court date July 11, 2024 approaching, | am compelled to share my observations of
his character based on our extensive interactions.

Throughout our shared history, Justin has been a wonderful father to my great niece Chappell age 10
years, and husband to my niece Kristen (his wife). Justin risked his life in every job he has had to support
nis family, from his tenure in the Army, (multiple tours overseas) and private security, (also overseas
outside of the US,) and as a police officer. As a clinician | have seen that post-traumatic stress disorder is
often direct result of all these jobs, and can contribute to struggles with many aspects of life including
job performance.

Justin steps into help care for his disabled mother, and assure her safety with kindness and compassion.
As a caretaker for his daughter, ti, he is present and caring. Asa pediatric clinician, it has been my
experience that the best outcome for children is to have both parents in the home and present in their

HVES

itismy sincere hope that the court takes this letter into consideration. Understanding the serious nature
of these charges, iC 1s important to consider how the sentence could profoundly impact Justin Chappell,
and his family. fam convinced that Justin Chappell will view this situation as an opportunity for personal
growth and with right support and guidance, Justin will remain a continued constructive, contributing
member of society and our family.

Should you require any further information or wish to discuss this matter in more detail, please do not

hesitate to contact me.

Respecttully,

Patricia Gannon, RN, MS, CPN, CNRN
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July 5, 2024

‘To whom it may concern,

| have know Justin since he has been 17 or 18. He is a beautiful person and a lovely gentleman.
He would help Kristen take care of her grandmother Ellie, he would make sure that Ellie had
sufficient groceries for the week.

He is such a wonderful Dad to his daughter tgp and he takes very good care of his family.
In all my years of knowing Justin | have never seen an angry attitude or any violence from him.

Regards,

Karen Lamie
